 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------X
 K.W., on behalf of himself and his
 infant child, K.A.,

                   Plaintiffs,
                                                      MEMORANDUM AND ORDER
             - against -
                                                       22 Civ. 8889 (NRB)
 THE CITY OF NEW YORK, AMAR MOODY,
 THE CHILDREN’S AID SOCIETY, and BRIAN
 GOMEZ,

                Defendants.
 ------------------------------------X
 NAOMI REICE BUCHWALD
 UNITED STATES DISTRICT JUDGE

     On October 18, 2022, K.W. brought this action on behalf of

himself and his son, asserting numerous federal and state law

claims against: (1) the City of New York (the “City”); (2) Amar

Moody, the municipal caseworker assigned to K.A.’s case (“Moody”

and together with the City, the “City Defendants”); (3) the not-

for-profit corporation Children’s Aid Society (“CAS”); and (4) CAS

employee Brian Gomez (“Gomez” and together with CAS, the “Non-

Profit Defendants”).      ECF No. 1; see also ECF No. 35 (Plaintiffs’

First Amended Complaint (“FAC”)). 1        The City Defendants moved to

dismiss the claims against them on September 22, 2023, ECF No. 46,




1     Capitalized terms not defined herein have the meanings set forth in the
Court’s Memorandum and Order, ECF No. 66. For purposes of this Memorandum and
Order, the Court assumes familiarity with its prior decision, including the
factual background and procedural history described therein, and states only
those facts necessary to resolve the issues discussed herein.
and the Court granted the motion in a Memorandum and Order dated

July 23, 2024, ECF No. 66 (“July 2024 Opinion”).

        In that opinion, the Court wrote that “plaintiffs’ complaint

almost exclusively lumps the Non-Profit Defendants together with

the     City    Defendants”     and    raised    the    question    of   “whether

plaintiffs’       claims     against     the     Non-Profit     Defendants    are

sustainable in light of this decision.”                July 2024 Opinion at 46-

47. 2   Accordingly, the Court ordered the plaintiffs to “show cause

as to why their claims against the Non-Profit Defendants should

not be dismissed within 30 days.”              Id.

        Plaintiffs filed a two-paragraph response on August 18, 2024,

noting their disagreement with the Court’s July 2024 Opinion and

submitting that dismissal was inappropriate because “discovery

would further support their claims.”              ECF No. 67.      The Non-Profit

Defendants filed their response on September 30, 2024.                   ECF No.

68.     The Non-Profit Defendants requested dismissal of the Amended

Complaint,       opposed     further    discovery,      and   provided    various

arguments which mirrored the Court’s reasoning in its July 2024

Opinion.       Id. at 1–2.    Their letter noted, for example, that “the

Non-Profit Defendants’ actions, like the City Defendants’ actions



2     The Non-Profit Defendants previously elected to answer the First Amended
Complaint, ECF No. 39, rather than join City Defendants in moving for dismissal.
The Non-Profit Defendants have since requested dismissal. ECF No. 68.


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were taken pursuant to lawful Family Court orders.”         Id. at 1.

The Court called plaintiffs’ counsel on October 1, 2024, to inquire

about a reply.    Plaintiffs’ counsel informed the Court that she

would not file a reply.

                               DISCUSSION

     Despite the two opportunities afforded plaintiffs’ counsel to

distinguish the claims against the Non-Profit Defendants from

those against the City Defendants, plaintiffs have failed to make

any effort to do so.       As this Court has previously observed,

“[w]ith only a few minor exceptions, there are no allegations made

specifically   against   the   Non-Profit   Defendants.”    July   2024

Opinion at 47.

     To avoid dismissal of their Amended Complaint, plaintiffs

claim that discovery will fix their facially invalid claims.       See

ECF No. 67.    Plaintiffs have the sequence backwards.     “The motion

to dismiss mechanism exists to prevent plaintiffs from conducting

fishing expeditions to see if they can cobble together meritorious

claims. Discovery is burdensome and expensive, and the Federal

Rules of Civil Procedure do not provide for it unless the pleading

can survive a Rule 12(b)(6) motion.”    Utts v. Bristol-Myers Squibb

Co., 251 F. Supp. 3d 644, 673 (S.D.N.Y. 2017), aff'd sub nom.

Gibbons v. Bristol-Myers Squibb Co., 919 F.3d 699 (2d Cir. 2019);




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see also Hughes v. LaSalle Bank, No. 02 Civ. 6384 (MBM)(HBP), 2004

WL 414828, at * 1 (S.D.N.Y. March 4, 2004) (“[A] litigant may not

use discovery to determine whether there is a cause of action.”)

(internal citation omitted); Jones v. Capital Cities/ABC Inc., 168

F.R.D. 477, 480 (S.D.N.Y. 1996) (“The purpose of discovery is to

find out additional facts about a well-pleaded claim, not to find

out whether such a claim exists.”).

      This Court offered plaintiffs two opportunities to explain

why its decision dismissing the City Defendants did not apply to

the Non-Profit Defendants.       Plaintiffs declined to engage or offer

any substantive argument. 3      Rather, plaintiffs sought discovery to

further support their claims.         See ECF No. 67.       That request is

essentially an admission of the inadequacy of their pleading

against the Non-Profit Defendants.

      Accordingly, all claims against the Non-Profit Defendants are

dismissed for the reasons stated in this Court’s July 2024 Opinion,

and in the Non-Profit Defendants’ submission, ECF No. 68.                   As



3     Neither party has asked for permission to brief the merits of Plaintiffs’
claims further.     Further briefing is unnecessary because the FAC has
“substantial deficiencies” which are “predominately legal” in nature, the Court
provided notice that it was considering dismissal on this basis, and plaintiffs
had an opportunity to be heard. Int'l Code Council, Inc. v. UpCodes Inc., 43
F.4th 46, 55 (2d Cir. 2022); see also In re Best Payphones, Inc., 450 F. App'x
8, 15 (2d Cir. 2011) (summary order) (affirming the district court's judgment
when the losing party “had the opportunity to make the arguments necessary to
preserve its [position] for appellate review” and “ha[d] not pointed to any
additional argument it would have made had it filed full motion papers”).


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discussed   therein,   plaintiffs’   intimate    association   claim   is

untimely, July 2024 Opinion at 16-22, their procedural due process

claims are time-barred and insufficiently pled, id. at 22-27, and

they fail to state a claim for a violation of the NYC Human Rights

Law, id. at 36-39.

                             CONCLUSION

     For the foregoing reasons, all claims against the Non-Profit

Defendants are dismissed.        The Clerk of Court is respectfully

directed to terminate all pending motions, enter judgment for all

defendants, and close the case.


Dated:      November 7, 2024
            New York, New York

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                                             NAOMI REICE BUCHWALD
                                         UNITED STATES DISTRICT JUDGE




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